                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                                   1:20-cv-211-MOC

KRISTINA PHILBRICK-MORRISON,                 )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )
                                             )               ORDER
KILOLO KIJAKAZI,                             )
Acting Commissioner of Social Security,      )
                                             )
       Defendant.                            )

       THIS MATTER is before the Court on Plaintiff’s Motion for Attorney Fees. (Doc. No.

22). Defendant has consented to the motion. The motion is GRANTED. The parties have agreed

that the Commissioner of Social Security should pay the sum of $6,300.00, in full and final

settlement of all claims arising under the Equal Access to Justice Act (“EAJA”). See 28 U.S.C. §

2412(d).

       It is therefore ORDERED that the Commissioner of Social Security pay to Plaintiff the

sum of $6,300.00 in attorney fees, in full satisfaction of all claims arising under EAJA, 28 U.S.C.

§ 2412(d), and upon the payment of such sum this case is dismissed with prejudice. If the award

to Plaintiff is not subject to the Treasury Offset Program, payment will be made by check

payable to Plaintiff’s counsel, Charlotte Hall, and mailed to her office at P.O. Box 58129,

Raleigh, North Carolina 27658, in accordance with Plaintiff’s assignment to her attorney of her

right to payment of attorney’s fees under the EAJA. If the payment is subject to offset, then any

remaining fee will be made payable to Plaintiff and mailed to Plaintiff’s counsel’s office address.

 Signed: November 24, 2021



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